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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OKLAHOMA



   DCCC and OKLAHOMA DEMOCRATIC
   PARTY,
                                                  Case No.: 20-CV-211-JED-JFJ
                    Plaintiffs,

        v.

   PAUL ZIRIAX, in his official capacity as
   SECRETARY OF THE OKLAHOMA STATE
   ELECTION BOARD; TOM MONTGOMERY,
   in his official capacity as CHAIRMAN OF THE
   OKLAHOMA STATE ELECTION BOARD; DR.
   TIM MAULDIN, in his official capacity as
   VICE CHAIRMAN OF THE OKLAHOMA
   STATE ELECTION BOARD; HEATHER
   MAHIEU CLINE, in her official capacity as a
   MEMBER OF THE OKLAHOMA STATE
   ELECTION BOARD; JERRY BUCHANAN, in
   his official capacity as an ALTERNATE
   MEMBER OF THE OKLAHOMA STATE
   ELECTION BOARD; and DEBI THOMPSON,
   in her official capacity as an ALTERNATE
   MEMBER OF THE OKLAHOMA STATE
   ELECTION BOARD,

                    Defendants.


       PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS
         IMPROPER PARTIES AND DISMISS OR TRANSFER VENUE
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                                    INTRODUCTION
         Plaintiffs DCCC and the Oklahoma Democratic Party (“ODP”) challenge the

   constitutionality of unduly burdensome and onerous election laws. Oklahoma law

   confers upon Defendants Paul Ziriax (“Secretary Ziriax”) and Members of the State

   Election Board (the “Board” or “Members of the Board”) Tom Montgomery, Dr. Tim

   Mauldin, Heather Mahieu Cline, Jerry Buchanan, and Debi Thompson (together,

   “Defendants”), all of whom are named in their official capacities and who, in those

   capacities, have legal responsibility for implementing and enforcing the laws at issue
   in this case. Nevertheless, in their Brief in Support of Motion to Dismiss Improper

   Parties and Dismiss or Transfer Venue (ECF No. 24), the Members of the Board seek

   dismissal from this litigation, claiming they are not proper or necessary parties (“Mot.

   to Dismiss”). The Members of the Board are clearly wrong: under the long-standing

   doctrine of Ex parte Young, they are properly sued in this action. And Defendants’

   request to transfer venue reveals this motion for what it really is: a transparent

   attempt to slow these proceedings and move this case to a venue that Defendants

   apparently view as friendlier to their defense.

         Defendants’ venue argument is as flawed as the arguments the Members of

   the Board present to attempt to avoid their legal responsibility for administering

   Oklahoma’s elections. It rests upon the baseless premise that the Western District of

   Oklahoma is the exclusive venue for federal challenges to Oklahoma’s election laws.

   This assertion is contrary to the plain language of the federal venue statute—28

   U.S.C. § 1391—and further undermined by authority from across the country that,

   as state officials, defendants are deemed to reside wherever they carry out their

   official duties, which plainly includes the Northern District. Indeed, the largest

   county election board in the State—the Tulsa County Election Board—is located in

   the Northern District, and Defendant Members of the Board have direct
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   responsibility for supervising the operations of the Tulsa County Election Board

   (among others).

         There is also another entirely independent basis for establishing venue in this

   District. Under 28 U.S.C. § 1391(b)(2), venue is proper in any jurisdiction where

   “substantial events material” to Plaintiffs’ claims occurred. 1 Here, DCCC’s and ODP’s

   members and constituents—Oklahoma voters—who reside within this District have

   been and will continue to be burdened and disenfranchised by the challenged election

   laws. Thousands of voters in this District are, for example, adversely affected by the

   requirements to have their absentee ballots notarized or witnessed, to provide photo

   identification, and to obtain postage for the absentee ballots at a time when the

   COVID-19 pandemic is surging, including in cities and towns within the Northern

   District. These voters also face the threat of prosecution in this District for requesting

   absentee ballots and returning them, marked and sealed, on behalf of other voters


   1  Plaintiffs claim that Oklahoma’s (1) notarization, witnessing, and photo ID
   requirements, Enrolled S.B. 210; Okla. Stat. tit. 26, §§ 14-113.2, 16-123.1 (the
   “Notarization, Witness, and Photo ID Requirements”), (2) refusal to prepay for
   postage to return completed absentee ballots (the “Postage Requirement”);
   (3) rejection of absentee ballots delivered after 7:00 p.m. on Election Day, Okla. Stat.
   tit. 26 § 14-104; (the “Election Day Receipt Deadline”); (4) criminalization of
   organizations, like Plaintiffs DCCC and ODP, for engaging in the activities of
   requesting or receiving absentee ballots on behalf of their constituents, Enrolled S.B.
   1779, §§ 1(A)(1)–(4), (B)(1), 12, 14 (the “Ballot Request Criminalization”);
   (5) prevention of anyone from collecting sealed and voted absentee ballots, except in
   the case of physically incapacitated or emergency incapacitated voters, Okla. Stat.
   tit. 26, §§ 14-108(A), 14-115.1 (the “Absentee Assistance Ban”); and (6)
   criminalization of the same, Enrolled S.B. 1779, §§ 1(A)(2), (B)(1), 12, 14 (the
   “Absentee Assistance Criminalization”), unconstitutionally burden their
   constituents’ right to vote in violation of the First and Fourteenth Amendments.
   Plaintiffs separately claim that the Postage Requirement violates the Twenty-Fourth
   Amendment, that the Election Day Receipt Deadline denies Plaintiffs procedural due
   process, and that the Ballot Request Criminalization, Absentee Assistance Ban, and
   Absentee Assistance Criminalization violate their First Amendment rights of free
   speech and association, as incorporated against the states by the Fourteenth
   Amendment.


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   who require assistance. These are just a few of the many “substantial events

   material” to Plaintiffs’ claims that occurred and will occur in the Northern District

   and that give rise to venue under 28 U.S.C. § 1391(b)(2).

            Finally, Defendants have not met their burden to show that Plaintiffs’ choice

   of forum should be disturbed. Mere statements about witnesses located in a different

   district⸺without explanation of the materiality of their testimony or their

   unwillingness to come to trial in the Northern District⸺is insufficient. Moreover, in

   the immediate term, proceedings will be conducted remotely unless “the interests of

   justice outweigh the safety risks.” 2
            This Court should deny Defendants’ Motion to Dismiss and Transfer.

                                           ARGUMENT

   I.       The Members of the Board are proper defendants in this case.
            The Members of the Board’s argument that they are not proper parties to this

   case is flatly wrong. Their motion is not completely clear as to whether they mean to

   argue that they are not proper parties under Ex parte Young, or if Plaintiffs lack

   standing to sue them here. See Mot. to Dismiss at 1–2 (arguing not proper parties

   under Ex Parte Young, but citing cases applying Article III standing requirements).

   Either way, the arguments fail. The Members of the Board, all sued in their official

   capacities, are appropriate Defendants under Ex parte Young, and Plaintiffs’ injuries

   are traceable to them and redressable by injunctive relief ordered against them.

            A.    Plaintiffs properly sued the Members of the Board under Ex
                  parte Young.
            The Members of the Board’s assertion that they are not proper defendants in

   this litigation is directly contrary to the well-established Ex Parte Young doctrine. Ex

   Parte Young requires two steps: first, a “straightforward inquiry into whether the

   complaint alleges an ongoing violation of federal law and seeks relief properly

   2   See infra note 21.


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   characterized as prospective,” Verizon Md., Inc. v. Pub. Serv. Comm’n of Md., 535

   U.S. 635, 645 (2002) (alterations incorporated), and second, consideration of whether

   the official in question has “some connection” to the challenged law’s enforcement. As

   the Tenth Circuit has emphasized, “[a]n officer need not have a ‘special connection’

   to the allegedly unconstitutional statute; rather, he need only ‘have a particular duty

   to ‘enforce’ the statute in question and a demonstrated willingness to exercise that

   duty.’” Chamber of Commerce of U.S. v. Edmondson, 594 F.3d 742, 760

   (10th Cir. 2010) (citation omitted). “‘So long as there is [some] connection [with

   enforcement of the act], it is not necessary that the officer’s enforcement duties be

   noted in the act.’” Kitchen v. Herbert, 755 F.3d 1193, 1201 (10th Cir. 2014) (citation

   omitted). Consistent with this long-standing jurisprudence, a state official is a proper

   defendant if she is “‘responsible for ‘general supervision’ of the administration by the

   local . . . officials’ of a challenged provision.” Id. at 1204 (citation omitted). This

   remains the case, even if the state official is “‘not specifically empowered to ensure

   compliance with the statute at issue,’” so long as she “‘clearly [has] assisted or

   currently assist[s] in giving effect to the law.’” Id. (emphasis added) (citing Prairie

   Band Potawatomi Nation v. Wagnon, 476 F.3d 818, 828 (10th Cir. 2007)). 3
         These requirements are easily satisfied here. As described below, the Board

   oversees all of Oklahoma’s county election boards, ensuring their compliance with the

   very laws Plaintiffs are challenging. The relief Plaintiffs seek thus necessitates an

   injunction against the Members of the Board to prevent them from using their

   supervisory power to require enforcement of these laws. Established in 1907, the

   Board is the “administrative agency for the conduct of state elections and the


   3 All of this is grounded in the plain language of Ex parte Young, 209 U.S. 123, 157
   (1908), itself, in which the Supreme Court wrote, over 100 years ago: “The fact that
   the state officer, by virtue of his office, has some connection with the enforcement of
   the act, is the important and material fact, and whether it arises out of the general
   law, or is specially created by the act itself, is not material so long as it exists.”


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   oversight of the state’s 77 county election boards.” 4 See Okla. Const. art. 3, § 2 (noting

   that the Board is “charged with the supervision of . . . elections”). The county election

   boards, in turn, are required to review requests for absentee ballots; print, test, and

   mail absentee ballots to eligible voters; and determine the eligibility of and count

   returned absentee ballots. See Okla. Stat. tit. 26, §§ 14-101(A), 14-104–07, 14-111.1,

   14-112.1, 14-122–23, 14-125. The Board authorizes the county election boards to

   appoint “absentee counters” to tally the returned absentee ballots. Id. § 14-124. While

   the county boards carry out these, and other basic functions of election

   administration, it is the Board that supervises them and thus has supervisory

   authority over these functions.

         The Board’s expansive supervisory powers over the 77 county election boards

   alone—which include even the appointment of county election board officials—each

   of which engages in actions that are challenged in this lawsuit, is itself sufficient to

   find that the Board has “some connection with the enforcement of [these provisions,]”

   including the power to ensure that the county election boards act in compliance with

   Oklahoma law. See id. §§ 2-111–12; Ex parte Young, 209 U.S. at 157. As such, the

   Members of the Board are proper parties.

         As the Tenth Circuit has noted, a state official’s specific enforcement duties

   need not be enumerated in the challenged statute. See Kitchen, 755 F.3d at 1201. The

   fact that the Board oversees the county election boards, and therefore ensures their

   compliance with election laws, is sufficient evidence of the Members of the Board’s

   enforcement authority. The Board “‘clearly ha[s] assisted or currently assist[s] in

   giving effect to the [challenged provisions,]” by virtue of its oversight function, which

   the Tenth Circuit has upheld as sufficient when naming defendants. Id. at 1204

   (citing Prairie Band Potawatomi Nation, 476 F.3d at 828). Further, as Secretary

   4Okla. State Election Bd., https://www.ok.gov/elections/index.html (last visited July
   9, 2020) (emphasis added).


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   Ziriax has aptly noted, it is the Board that “owns [the very] network used to securely

   communicate with county election boards.” 5

         Gentges v. Oklahoma State Election Board, 319 P.3d 674 (2014) is instructive.

   There, a voter sued the Board regarding the imposition of a voter ID election law.

   Notably, the Court found that it had jurisdiction over the Board to decide the

   lawfulness of the voter ID requirement, and the Board did not contest that

   determination. The photo ID requirement that Plaintiffs challenge here, while

   applied to absentee ballots, mimics the same requirement applicable when voting in

   person. See Enrolled S.B. 210, § 3(A)(1) (noting that voters may “attach a photocopy

   of a form of identification described in” Okla. Stat. tit. 26, § 7-114, the very

   requirement challenged in Gentges). Thus, both Gentges, and the Board’s prior

   treatment of the constitutionality of a photo ID requirement demonstrate that the

   Board has enforcement authority over the one challenged in this case, even if the

   statute does not explicitly say so. See Enrolled S.B. 210.

         B.     Plaintiffs’ injuries are traceable to and redressable (at least in
                part) by Members of the Board.
         To the extent the Members of the Board mean to argue that they are not proper

   parties on the grounds that Plaintiffs’ injuries are not traceable or redressable to

   them, they are also wrong as a matter of both fact and law. Article III requires that

   plaintiffs establish that their injury is “fairly traceable to the challenged action of the

   defendant” and “a substantial likelihood that the relief requested will redress [their]

   injury in fact.” E.g., Kitchen, 755 F.3d at 1201; see also Nova Health Sys. v. Gandy,

   416 F.3d 1149, 1158 (10th Cir. 2005). Plaintiffs bringing actions against public

   officials can satisfy the causation and redressability requirements of standing by

   showing “‘a meaningful nexus’ between the defendant and the asserted injury.”

   5 Testimony of Paul Ziriax Before the Subcomm. on Investigations and Oversight and
   Subcomm. on Research and Tech. of the H. Comm. on Sci., Space, and Tech. 2
   (June 25, 2019), https://science.house.gov/imo/media/doc/Ziriax%20Testimony.pdf.


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   Kitchen, 755 F.3d at 1201 (citing Bronson v. Swensen, 500 F.3d 1099, 1111–12

   (10th Cir. 2007)). Plaintiffs need not show complete relief will be redressed by all

   defendants in order to establish standing. Cf. Chevron Corp. v. Donziger, 974 F. Supp.

   2d 362, 639 (S.D.N.Y. 2014) (finding fact that particular equitable decree “would not

   provide a complete remedy . . . does not preclude the [c]ourt from granting equitable

   relief that would solve the problem in part”). Therefore, even if the Members of the

   Board can provide only partial relief, Plaintiffs have satisfied the requirements of

   standing.

         The Members of the Board are directly involved in voters obtaining and

   receiving absentee ballots, as well as whether voters’ returned marked and sealed

   ballots are counted—actions which are central to the relief Plaintiffs seek. Should

   Plaintiffs prevail, the Board would be required to change its operations, including its

   guidance for the county election boards and voters, promulgated on its website and

   in publications it distributes to Oklahoma voters and videos posted online to describe

   some of the challenged provisions—not to mention the ballot materials sent to

   voters. 6 See Atherton v. Ward, 22 F. Supp. 2d 1265, 1270 (W.D. Okla. 1998) (holding
   the Board responsible for changing forms distributed to voters and “training and

   educating their personnel[, including county election boards,]” on the terms of an

   order enjoining unconstitutional activity). As the Board provides “[a]ll forms required

   by law for state and county elections[,]” it must necessarily make any changes to these

   forms. See Okla. Stat. tit. 26, § 3-102.




   6 See, e.g., Okla. State Election Bd., Standard Absentee Instructions (June 30),
   YouTube (June 12, 2020), https://www.youtube.com/watch?v=6-dwTMrMiyQ; Okla.
   State Election Bd., Physically Incapacitated Absentee Instructions (June 30),
   YouTube (June 12, 2020), https://www.youtube.com/watch?v=IFPTutvHOA0.


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          Along these lines, the Members of the Board permit voters to request absentee

   ballots through the Board’s online OK Voter Portal. 7 Therefore, if Plaintiffs were to

   prevail on their challenge to the Ballot Request Criminalization, the Members of the

   Board would no doubt need to amend the ballot request form, including modifying the

   OK Voter Portal to permit third parties like Plaintiffs to assist voters in requesting

   absentee ballots.

          Moreover, the Members of the Board cannot gloss over their involvement in

   the preparation and printing of ballot files, directly at issue in this case. As Secretary

   Ziriax has himself testified, “[f]or every election, no matter how large or small, the

   State Election Board staff prepare the ballot files. All ballot printing vendors are

   certified and subject to the supervision of the State Election Board. The State Election

   Board contracts with printers for federal and state ballots[.]” 8 Accordingly, by
   implication, the Members of the Board must also be the ones to change the ballot

   files, should this Court so order, before they are printed and distributed to county

   election boards. 9

          Additionally, as the Members of the Board have enforcement authority over

   the imposition of a photo ID, as demonstrated by Gentges, if Plaintiffs succeed on

   their claim that the photo ID requirement imposes an undue burden on the right to

   vote, they will be unable to receive the relief they desire, namely the enjoinment of

   this so onerous and unnecessary provision, and the assurance that their constituents’

   ballots will be counted.



   7      See      Okla.     State      Election      Bd.,      OK     Voter   Portal,
   https://www.ok.gov/elections/OVP.html (last visited July 9, 2020).
   8 See supra note 5, at 3.
   9 Okla. State Election Bd., Okla. Specifications for Digital Ballot Printing ¶ 2.3,

   https://www.ok.gov/elections/docs/vris/Oklahoma%20Specifications%20for%20Digita
   l%20Ballot%20Printing%20October%202014.pdf (noting the Board provides the
   ballot files, wherein absentee ballots are contained, to printers).


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             Further, as Defendants note, the Members of the Board “certify the election

   results after receiving the results from each county board.” Mot. to Dismiss at 2

   (citing Okla. Stat. tit. 26, § 7-136). Because of the Election Day Receipt Deadline for

   marked and sealed absentee ballots, see Okla. Stat. tit. 26, § 14-104, which will result

   in large-scale disenfranchisement were it to remain in place, Plaintiffs have

   requested this Court both enjoin the county certification deadline of the Friday after

   Election Day and the state certification deadline of the Tuesday after Election Day,

   and postpone each by one week. See ECF No. 18, Am. Compl. at 43. Plaintiffs are

   concerned that if the Members of the Board are dismissed from this case, should the

   Court find the Election Day Receipt Deadline violates the First and Fourteenth

   Amendments, both deadlines would not be able to be moved as Plaintiffs have

   requested and as necessary to rectify the undue burden and due process violation

   associated with the Election Day Receipt Deadline. 10 Therefore, were the Members of
   the Board dismissed, Plaintiffs would risk not being able to receive their requested

   relief.

   II.       Venue is proper in the Northern District of Oklahoma.
             Defendants’ venue argument fares no better than the Member of the Board’s

   attempt to avoid responsibility in this action. The federal venue statute provides

   multiple grounds to establish venue in a civil action, 28 U.S.C. § 1391, and the Court

   need not find the “best” venue. See Employers Mut. Cas. Co. v. Bartile Roofs, Inc., 618

   F.3d 1153, 1165 (10th Cir. 2010). Here, venue is proper in the Northern District on

   two independently sufficient grounds; the Court should deny Defendants’ motion to

   dismiss or transfer on these grounds.




   10See also supra note 5, at 3 (noting that State Election Board posts on its website
   “unofficial election results” for “every ballot that [is] cast by mail” and counted).


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         A.     Venue is proper in the Northern District based on residence.
         First, venue in the Northern District is proper under 28 U.S.C. § 1391(b)(1),

   which provides that venue is proper if one defendant resides in the district, and all

   defendants are residents of the state. Id. § 1391(b)(1). Defendant Jerry Buchanan

   resides in Tulsa, in the Northern District, and all Defendants reside in the State. See

   Mot. to Dismiss at 12–13 & n.2. 11 Moreover, because all Defendants are state officials

   sued in their official capacity only, they are deemed to reside anywhere “they conduct

   their official duties”—not only in the state capitol or where their office is located. See

   Taylor v. White, 132 F.R.D. 636, 641 (E.D. Pa. 1990); 13 Bus. & Com. Litig. Fed. Cts.

   § 140:38 (4th ed.). Thus, even if none of the Defendants had their personal domicile

   in the Northern District, venue would still be proper here because the Defendants are

   state officials whose business is conducted here, as well as elsewhere around the

   State. The rationale for this is simple: “In the state context, there is little threat of

   inconvenience or even forum shopping, at least sufficient ‘to warrant a blanket rule

   that there may never be more than a single residence.’” Fla. Nursing Home Ass’n v.

   Page, 616 F.2d 1355, 1360 (5th Cir. 1980), rev’d on other grounds sub nom. Fla. Dep’t

   of Health & Rehab. Servs. v. Fla. Nursing Home Ass’n, 450 U.S. 147 (1981); Buffalo

   Teachers Fed’n, Inc. v. Helsby, 426 F. Supp. 828, 829–30 (S.D.N.Y. 1976).

         In a similar case, a district court determined that the “defendants’ argument

   that Michigan’s secretary of state performs her official duties only in Lansing,

   Michigan and therefore may be sued only there does not withstand even the basest

   analysis.” Bay Cty. Democratic Party v. Land, 340 F. Supp. 2d 802, 806

   (E.D. Mich. 2004). The court’s holding was based on the fact that “[t]he Michigan

   secretary of state and director of elections have a statutory obligation to perform their

   official duties not only in Lansing but throughout the State.” Id. at 807. The elections

   11  Okla. State Election Bd., State Election Board Secretary and Members,
   https://www.ok.gov/elections/About_Us/Secretary_and_Board/index.html (last
   visited July 10, 2020).


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   director “conduct[ed] training schools throughout this state” and “train[ed] all county,

   city, and township clerks.” Id. “The Michigan secretary of state’s mission statement

   requires that she . . . will serve the citizens of Michigan with programs designed to .

   . . ensure the integrity of . . . the statewide elections process.” Id. She held herself out

   to be the State’s “Chief Election Officer.” Id. Although all of the “election directives

   [at issue] were drafted in and distributed from Lansing,” suit was proper in the

   Eastern District of Michigan because the defendants performed their official duties

   there. Id. at 808.

          The same is true here. Defendants, including Secretary Ziriax, perform their

   official duties in the Northern District of Oklahoma. As the Secretary of the Board,

   he is the “chief state election official” and has “general supervisory authority over

   county election boards and shall have the authority to provide administrative

   supervision to any county election board,” including the 11 counties in the Northern

   District. 12 Okla. Stat. tit. 26, § 2-107. The Secretary must hold a training program “in
   each county” for precinct inspectors, judges, clerks and other precinct officials. Id. §§

   2-107.1, 3-111. He must also “cause regular inspections to be made of each county

   election board.” Id. § 3-109. The Northern District includes Tulsa County, which has

   the largest county election board by staff. 13 The Secretary is also responsible for

   promulgating and repealing statewide “rules or regulations as the Secretary deems

   necessary to facilitate and assist in achieving and maintaining uniformity in the

   application, operation and interpretation of the state and federal election laws.” Okla.

   Stat. tit. 26, § 2-107. Moreover, the “Secretary . . . promote[s] and encourage[s] voter

   registration and voter participation in elections,” Id. The Board provides all required

   forms for state and county elections, id. § 3-102, and the Secretary “prescribe[s]” the


   12 See U.S. Dist. Ct., N.D. Okla., NDOK Map, https://www.oknd.uscourts.gov/ndok-
   map-0 (last visited July 9, 2020).
   13 See supra note 5, at 4.




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   “[i]nstructions to voters describing the manner for casting one’s vote,” id. § 3-113.

   Over 27 percent of the State’s population votes in the Northern District, 14 and Tulsa

   is the second most populous city in the State. 15 In 2018, the Board spent $3.4 million

   in conducting three statewide elections and an additional $546,000 on election

   supplies, overtime, and training—some of which was expended in the Northern

   District. 16 Oklahoma statutes contemplate that the Secretary and the Board travel

   on official business. Indeed, “[m]embers of the State Election Board” are paid a per

   diem and “mileage reimbursement” for travel for meetings across the State. Okla.

   Stat. tit. 26, § 2-101.9. Most recently, the Board partnered with banks and credit

   unions in Tulsa to provide voters with free access to notarization and photocopying

   services for identification cards. 17
          Finally, it is not at all unusual for Oklahoma state officials to have to defend

   against lawsuits in this District. To the contrary, cases are regularly brought against

   Oklahoma state officials in the Northern District and decided by this Court. See, e.g.,

   Okla. Chapter of Am. Acad. of Pediatrics (OKAAP) v. Fogarty, No. 01CV0187CVE-

   SAJ, 2006 WL 1623529, at *3 (N.D. Okla. June 6, 2006), subsequently rev’d and

   remanded sub nom. Okla. Chapter of Am. Acad. of Pediatrics v. Fogarty, 472 F.3d

   1208 (10th Cir. 2007); Reprod. Servs. v. Keating, 35 F. Supp. 2d 1332, 1337 (N.D.


   14 See U.S. Att’y’s Office N.D. Okla., About, https://www.justice.gov/usao-ndok/about
   (last visited July 9, 2020).
   15     CDC,       500      Largest     Cities    by     State     and     Population,
   https://www.cdc.gov/500cities/pdf/500-Cities-Listed-by-State.pdf (based on 2010 U.S.
   Census data) (last visited July 9, 2020).
   16 See supra note 5, at 4.
   17 Carmen Forman, Some banks offer free notary, copy services for absentee voters, The

   Oklahoman (June 6, 2020), https://oklahoman.com/article/5663971/some-banks-offer-
   free-notary-copy-services-for-absentee-voters;     Annemarie      Cuccia,   Financial
   institutions offer free absentee voter services, NONDOC (June 5, 2020),
   https://nondoc.com/2020/06/05/financial-institutions-offer-free-absentee-voter-
   services/; Okla. State Election Bd., Find Free Absentee Voter Services,
   https://www.ok.gov/elections/Notary_Services.html (last visited July 9, 2020).


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   Okla. 1998). For all of these reasons, the Court should reject the Defendants’

   arguments that they are not properly deemed to reside in the Northern District or

   that venue is not otherwise proper here.

         B.     Venue is also proper because “substantial events material to”
                Plaintiffs’ claims occurred and will occur in the Northern
                District.
         Venue is also proper in this District for a second, independent reason. Under

   the federal venue statute, a party may file suit in “a judicial district in which a

   substantial part of the events or omissions giving rise to the claim occurred.” 28

   U.S.C. § 1391(b)(2). The Tenth Circuit “conduct[s] a two-part analysis when reviewing

   challenges to venue under Section 1391(b)(2).” Bartile Roofs, Inc., 618 F.3d at 1166.

   Under this analysis, venue is proper in the Northern District in this case under this

   analysis.

         In applying the relevant two-part analysis, the Court, first, must “examine the

   nature of the plaintiff’s claims and the acts or omissions underlying those claims.” Id.

   “Second, [it] determine[s] whether substantial ‘events material to those claims

   occurred’ in the forum district.” Id. “The substantiality requirement is satisfied upon

   a showing of ‘acts and omissions that have a close nexus’ to the alleged claims.” Id.

   At the second step, the Court must consider the “entire sequence of events underlying

   the claim,” including where the loss or harm occurred. Id. at 1167. For example, in

   Bartile Roofs, the “alleged damages or loss under an insurance policy [ ] constitute[d]

   a substantial event” although the location of the damages, Wyoming, was “irrelevant

   to the interpretation of the C[ommercial] G[eneral] L[ability] policies” at issue, which

   were “negotiated in Utah, underwritten in Colorado, and executed in Utah.” Id.

   (citing Uffner v. La Reunion Francaise, S.A., 244 F.3d 38, 42–43 (1st Cir. 2001)); see

   also Bartile Roofs, 618 F.3d at 1157. The location of the loss was part of the “entire

   sequence of events underlying the claim” because “it form[ed] the basis of Bartile’s

   request for a defense and indemnification.” Bartile Roofs, 618 F.3d at 1167; see also


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   Land, 340 F. Supp. 2d at 809 (“To establish a substantial connection to the claim, it

   is generally sufficient to demonstrate that injury or loss alleged in the lawsuit

   occurred in the chosen venue.”).

          In cases involving state officials, a substantial connection to the claim occurs

   not only where the “triggering event” takes place, but also where the effects of the

   decision are felt. See McClure v. Manchin, 301 F. Supp. 2d 564, 569 (N.D. W.Va. 2003)

   (rejecting secretary of state’s claim that a state election law challenge must be

   brought in the district where the state government sits); Emison v. Catalano, 951 F.

   Supp. 714, 721 (E.D. Pa. 1996) (suits challenging official acts may be brought in the

   district where the effects of the challenged statute are brought despite being enacted

   elsewhere); Sch. Dist. of Phila. v. Pa. Milk Mktg. Bd., 877 F. Supp. 245, 249

   (E.D. Pa. 1995) (rejecting argument that venue is proper only where official decision

   was made); see also Land, 340 F. Supp. 2d at 808–09 (“In this case, the effects of the

   election directive are felt statewide, including within Bay County where one of the

   plaintiffs is located.”).

          Indeed, as noted above, courts consistently allow plaintiffs to challenge state

   election laws in federal districts that do not contain the offices of elections officials.

   Thus, as one court considering a very similar venue challenge in a voting case in

   Michigan recently observed, “[o]f the reported Sixth Circuit decisions brought against

   the Michigan secretary of state involving election law issues over the past twenty-

   five years, seven have been brought in the Eastern District,” which does not include

   the state capital. Land, 340 F. Supp. 2d at 806. There, as this Court should, the court

   rejected the defendants’ efforts to change venue. To name a few other examples,

   plaintiffs in voting rights cases have sued state officials in Milwaukee, not Madison,

   Wisconsin; Birmingham, not Montgomery, Alabama; and Laredo and Marshall, not

   Austin, Texas—repeatedly. See, e.g., Soechting v. Perry, 548 U.S. 922 (2006)

   (statewide redistricting plan challenged in E.D. Tex.); Bush v. Vera, 517 U.S. 952


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   (1996) (statewide redistricting plan challenged in S.D. Tex.); Luft v. Evers, Nos. 16-

   3003, 16-3052, 16-3083 & 16-3091, 2020 WL 3496860 (7th Cir. June 29, 2020); Frank

   v. Walker, 768 F.3d 744 (7th Cir. 2014); Frank v. Walker, 819 F.3d 384 (7th Cir. 2016);

   Veasey v. Abbott, 830 F.3d 216 (5th Cir. 2016) (statewide voter ID law challenged in

   S.D. Tex.); Voting for Am., Inc. v. Andrade, 888 F. Supp. 2d 816 (S.D. Tex. 2012), rev’d

   and remanded sub nom. Voting for Am., Inc. v. Steen, 732 F.3d 382 (5th Cir. 2013)

   (statewide registration law challenged in E.D. Tex.); Greater Birmingham Ministries

   v. Merrill, 284 F. Supp. 3d 1253 (N.D. Ala. 2018); Chestnut v. Merrill, No. 2:18-CV-

   00907-KOB, 2020 WL 1281236 (N.D. Ala. Mar. 17, 2020); Bruni v. Hughs, No. 5:20-

   CV-35, 2020 WL 3452229 (S.D. Tex. June 24, 2020); Tex. Democratic Party v. Hughs,

   No. 5:20-cv-8-OLG (S.D. Tex. Apr. 7, 2020) (challenging secretary’s interpretation of

   statewide registration law); Lopez v. Abbott, 339 F. Supp. 3d 589 (S.D. Tex. 2018)

   (statewide redistricting plan); Cotham v. Garza, 905 F. Supp. 389 (S.D. Tex. 1995)

   (statewide law restricting what may be brought into voting booths).

         Here, considering the “entire sequence of events underlying the claim,”

   “substantial events material” to Plaintiffs’ claims occurred in the Northern District.

   Plaintiffs bring constitutional claims that touch upon their and their constituents’

   most fundamental rights to participate in elections and Plaintiffs’ inability to

   facilitate the exercise of these important rights during the present, unprecedented

   global pandemic. A substantial part of the “events or omissions giving rise to” these

   claims occurred or will occur in the Northern District. As noted, the Northern District

   is home to Tulsa, which has one of the State’s largest concentration of Democratic

   voters. Thus, many voters within Plaintiffs’ membership and constituency have

   struggled and will struggle to find notaries or two witnesses, or to copy their photo

   ID in the Northern District. Others will have to risk their lives in order to obtain

   postage for their ballots in the Northern District. Voters who timely request and mail

   their absentee ballots might have those ballots rejected for arriving too late in


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   counties in the Northern District. Plaintiffs are unable to request or collect absentee

   ballots on behalf of constituents there for fear that they will be criminally prosecuted

   in the Northern District.

          In support of their motion, Defendants rely upon a case from the Eighth

   Circuit, but fail to mention that it articulates the minority position on this venue

   issue, and one that the Tenth Circuit has explicitly declined to adopt. 18 See Bartile

   Roofs, Inc., 618 F.3d at 1166 n.11. While it is true that, in a 1999 unpublished opinion,

   Goff   v.   Hackett   Stone    Co.,   No.     98–7137,   1999   WL    397409,    at   *1

   (10th Cir. June 17, 1999), the Tenth Circuit stated that “venue statutes are generally

   designed for the benefit of defendants,” and cited an Eighth Circuit case, the Circuit

   has since made clear Goff is not precedential. To the contrary, when confronted with

   that same defendant-centric argument in Bartile Roofs, the Tenth Circuit dismissed

   Goff as a “non-binding order” and expressly declined to adopt the Eighth Circuit’s

   position. 618 F.3d at 1166 n.11. 19



   18 Defendants also claim that the Second and Eleventh Circuits have adopted the
   Eighth Circuit’s rule, Mot. to Dismiss at 7, but the Second Circuit has not. See Bates
   v. C & S Adjusters, Inc., 980 F.2d 865, 868 (2d Cir. 1992) (finding it irrelevant that
   “defendant did not deliberately direct a communication to the plaintiff’s district”
   because “[u]nder the new version of section 1391(b)(2), we must determine only
   whether a “substantial part of the events ... giving rise to the claim” occurred in the
   Western District of New York); see also Gulf Ins. Co. v. Glasbrenner, 417 F.3d 353,
   358 (2d Cir. 2005) (“[A] a number of relevant events occurred in New Jersey—the
   original injury, the trial, and the underlying judgment that [plaintiff] Gulf is seeking
   to avoid all happened in New Jersey.”). To the extent that the two Second Circuit
   cases Defendants cite are inconsistent with Bates, a subsequent panel cannot
   overrule a prior one. Lotes Co. v. Hon Hai Precision Indus. Co., 753 F.3d 395, 405 (2d
   Cir. 2014).
   19 At least four circuits have similarly rejected the Eighth Circuit’s rule. See Mot. to

   Dismiss at 9 n.1 (listing the First, Third, and Sixth Circuits); see also Mitrano v.
   Hawes, 377 F.3d 402, 406 (4th Cir. 2004) (allowing venue where the plaintiff
   performed his work under the contract at issue). That is the “majority view.” Cf. Mot.
   to Dismiss at 10. Given Congress’ continued liberalization of the venue rules, the
   majority view makes sense.


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          Moreover, the language in Goff is dicta, see id., and its circumstances are

   clearly distinguishable from those at issue here. In Goff, the Tenth Circuit

   determined that the Eastern District of Oklahoma correctly held that venue was

   improper in a wrongful termination suit when the parties agreed that “[a]ll aspects

   of plaintiff’s employment, including his discharge, occurred in Arkansas.” Goff, 1999

   WL 397409, at *1 (emphasis added). The issuance of an order from an Oklahoma

   court that “allegedly led to [plaintiff’s] discharge was too tangential to be considered

   a substantial part of the events giving rise to the claim.” Id. Here, in contrast, “all

   aspects” of Plaintiffs’ claims did not occur in the Western District. Far from it.

   Thousands of Plaintiffs’ voters live in the Northern District and will have to confront

   and grapple with (and be injured by) the challenged laws right here. Thousands of

   Plaintiffs’ voters in Tulsa, for example, cannot locate witnesses or notaries without

   risking their lives. Others will risk prosecution in the Northern District if they

   request absentee ballots for other voters (or decline to do so out of fear of

   prosecution). 20


   20 Defendants claim that district courts in the Tenth Circuit have “tended to follow”
   the Goff dicta. Mot to Dismiss at 9. Not really. Some courts considered the plaintiffs’
   activities as well. See, e.g., Hanson v. Bosley & Bratch, Inc., No. 17CV1489, 2018 WL
   4491424, at *3 (D. Colo. Sept. 18, 2018) (relying heavily on Bartile Roofs and
   determining that “plaintiff’s signing of the contract and defendants’ communication
   about the missed deadline,” which occurred in the district, “were ‘at most tangential
   to the underlying legal malpractice claim’”) (emphasis added); see also Transp.
   Funding, LLC v. HVH Transp., Inc., 2:17-CV2106-JAR-GLR, 2017 WL 4223126, at
   *4 & n.58 (D. Kan. Sept. 22, 2017) (relying on Bartile Roofs for the test). Other cases
   are distinguishable. See Titsworth v. Hodge, No. 17CV350, 2018 WL 3312985, at *2–
   3 (E.D. Okla. July 3, 2018) (“Defendants,” who allegedly provided negligent medical
   treatment in Arkansas, “had no connection to the Plaintiff’s original injuries” that
   occurred in Oklahoma); see also Quorum Health Res., LLC v. Lexington Ins. Co., No.
   11CV374, 2012 WL 769744, at *3 (D.N.M. Mar. 7, 2012) (“the facts giving rise to the
   lawsuit have no material relation or significant connection to the plaintiff’s chosen
   forum”). Here, Defendants have a connection to Plaintiffs’ and their constituents’
   injuries occurring in the Northern District. The “facts giving rise to the lawsuit”⸺the
   risks of finding witnesses, notaries, or copies of photo identification, the inability to


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         Defendants’ reliance on Leroy v. Great W. United Corp., 443 U.S. 173, 183–84

   (1979), is also misplaced. Mot. to Dismiss at 7. Leroy interpreted the pre-1990 version

   of the venue statute, which allowed venue in “the judicial district . . . in which the

   claim arose.” Id. at 184 (emphasis added). The old statute also required that all

   defendants live in the district, not just one. Id. at 178 n.9 (for suits not based on

   diversity). Even then, the Court said that the statute “restricted venue either to the

   residence of the defendants or to ‘a place which may be more convenient to the

   litigants’—i.e., both of them—'or to the witnesses who are to testify in the case.’” Id.

   at 185 (emphasis added). Indeed, venue is a privilege that belongs to Plaintiffs as

   well. Since Leroy, “Congress has continually liberalized the provisions for venue.”

   Wright & Miller, 14D Fed. Prac. & Proc. Juris. § 3801 (4th ed.). Now, more than ever,

   “venue [ ] takes into consideration the location of parties [other than the defendants]

   and their activities.” Id. “Venue is largely a matter of litigational convenience”

   generally, not just for defendants. Wachovia Bank v. Schmidt, 546 U.S. 303, 316

   (2006); see also Wright & Miller, supra, § 3801 (“The principal focus of a venue inquiry

   is the ‘convenience of litigants and witnesses.’” (emphasis added)).

         Defendants argue that venue always must provide protection beyond the

   requirements of personal jurisdiction. Mot. to Dismiss at 10–12 (citing Wright &

   Miller § 3801). But that is not the rule. Congress specifically contemplated a perfect

   overlap between venue and personal jurisdiction in Section 1391(b)(3). Moreover,

   “[p]ersonal jurisdiction and venue, though separate concepts, share some traits.”

   Wright and Miller, supra, § 3801. “Both are concerned with the territorial reach of

   the court,” “[b]oth depend on statutory factors but incorporate equitable and

   prudential considerations,” and “[m]ost courts of appeal assess lower court venue

   determinations by the same standard as personal jurisdiction determinations.” Id.

   request or collect ballots given the threat of prosecution, and the absentee ballot’s
   late arrival to the county election board⸺will all occur in the Northern District.


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   There might be some cases where venue and personal jurisdiction overlap. For

   example, such an occurrence would be common in the 28 states where there is only

   one federal district. And there is no evidence that allowing Defendants to be sued in

   both the Northern and Western Districts of Oklahoma renders venue a “nullity.” Mot.

   to Dismiss at 12. The venue statute likely protects Defendants from being sued in

   other states in which they might have sufficient minimum contacts.

          Moreover, Defendants’ venue rule would mean that no one could challenge an

   Oklahoma election law anywhere but the Western District, see Mot. to Dismiss at 9.

   It would make no sense for venue to prevent a state official from being sued in two-

   thirds of his state. Congress intended venue to be proper in districts other than where

   defendants reside. Limiting venue to the district of the official’s home and/or office

   would render Section 1391(b)(2) superfluous, as Section 1391(b)(1) sets forth the

   separate basis for venue in “a judicial district in which any defendant resides.” As a

   result, a “place of trial” is not “unfair or inconvenient” just because a defendant does

   not reside there. Wright and Miller, supra, § 3801.

   III.   Defendants have not met their burden to justify transfer under
          Section 1404.
          Finally, the Court should decline Defendants’ invitation to transfer venue in

   this case. While it is true that a court may transfer a case to another proper venue

   “[f]or the convenience of parties and witnesses, in the interest of justice,” 28 U.S.C.

   § 1404(a), “[t]he ‘party moving to transfer . . . bears the burden of establishing that

   the existing forum is inconvenient.’” Bartile Roofs, Inc., 618 F.3d at 1167 (quoting

   Scheidt v. Klein, 956 F.2d 963, 965 (10th Cir. 1992) (internal quotation marks

   omitted)). A “plaintiff’s choice of forum is entitled to some deference.” Wright and

   Miller, supra, § 3801. Here, Defendants have failed to carry their burden.




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         The Tenth Circuit has been clear: “Merely shifting the inconvenience from one

   side to the other . . . is not a permissible justification for a change of venue.” Bartile

   Roofs, Inc., 618 F.3d at 1167. The court must weigh:

         the plaintiff's choice of forum; the accessibility of witnesses and other sources
         of proof, including the availability of compulsory process to insure attendance
         of witnesses; the cost of making the necessary proof; questions as to the
         enforceability of a judgment if one is obtained; relative advantages and
         obstacles to a fair trial; difficulties that may arise from congested dockets; the
         possibility of the existence of questions arising in the area of conflict of laws;
         the advantage of having a local court determine questions of local law; and[ ]
         all other considerations of a practical nature that make a trial easy,
         expeditious and economical.
   Id. (quoting Chrysler Credit Corp. v. Country Chrysler, Inc., 928 F.2d 1509, 1516 (10th

   Cir. 1991) (internal quotation marks omitted)). The balance of these factors must

   “strongly favor[ ]” a transfer of venue under § 1404(a). Bartile Roofs, Inc., 618 F.3d at

   1167 n.13 (emphasis added).

         As relevant here, “the plaintiff’s choice of forum should rarely be disturbed.”

   Id. A general allegation that necessary witnesses are located in the transferee forum

   is insufficient to justify transfer. Id. at 1169. “To demonstrate inconvenience, the

   movant must (1) identify the witnesses and their locations; (2) ‘indicate the quality

   or materiality of the[ir] testimony’; and (3) ‘show[ ] that any such witnesses were

   unwilling to come to trial ... [,] that deposition testimony would be unsatisfactory[,]

   or that the use of compulsory process would be necessary.’” Id. at 1169 (citation

   omitted). “If the moving party merely has made a general allegation that necessary

   witnesses are located in the transferee forum, ... the application for transferring the

   case should be denied.” Id. (quoting Wright & Miller). For example, the Tenth Circuit

   was not persuaded by the defendant’s allegation “that the majority of potential

   witnesses are Utah residents” because it “ha[d] neither identified those witnesses

   with specificity nor indicated the subject matter of their testimony.” Bartile Roofs,

   618 F.3d at 1169.




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         Here, the balance of factors does not favor transfer. Plaintiffs’ choice of forum

   cuts against transfer. In addition, Plaintiffs’ witnesses will include voters who live

   and vote in the Northern District. At least one defendant lives in Tulsa, Oklahoma.

   See supra p. 10.

         Defendants rely entirely on the “accessibility of witnesses” factor and state that

   the remaining factors are “neutral or have minimal impact on the transfer analysis

   in this case.” Mot. to Dismiss at 16. But Defendants’ “general allegation” that “[a]ll of

   the relevant witnesses are in Oklahoma City or out of state,” id., is incorrect and, in

   any event, insufficient to warrant transfer, see Bartile Roofs, Inc., 618 F.3d at 1169.

   As stated, Plaintiffs plan to call witnesses who live and vote in the Northern District,

   which includes the second biggest city in the State. Plaintiff ODP has a significant

   membership in the Northern District. In addition, at least one Defendant lives in the

   Northern District, so he would have to “spend four hours on the road for every day of

   trial,” Mot. to Dismiss at 16, if the case were transferred. And, in the new era of court

   during COVID-19, remote testimony might accommodate any true inconvenience

   from traveling. 21 If this Court dismisses all Defendants but Secretary Ziriax, the
   convenience of Plaintiffs’ numerous voter witnesses and party officials far outweighs

   the trouble of a single defendant driving for a few hours or staying in a hotel away

   from home for a few days.

                                      CONCLUSION
         All Defendants named in the complaint are proper and should not be

   dismissed. Venue is proper in the Northern District under the federal venue statute

   for multiple independent reasons. Finally, Defendants have failed to carry their



   21See In re: Court Operations Under the Exigent Circumstances Created by the Novel
   Coronavirus and Associated Disease (COVID-19), General Order 20-18
   (N.D. Okla. June 30, 2020), https://www.oknd.uscourts.gov/docs/aef2eb52-60ce-484b-
   bdd7-6b8ab3a51545/20go18.pdf.


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   heavy burden to justify transferring venue in this case. For all of these reasons, the

   Court should deny Defendants’ motion.

   DATED: July 10, 2020                        s/ Frank W. Frasier
                                               Frank W. Frasier, OK# 17864
                                               FRASIER, FRASIER & HICKMAN, LLP
                                               1700 Southwest Boulevard
                                               Tulsa, OK 74107
                                               Telephone: 918.584.4724
                                               Facsimile: 918.583.5637
                                               FFrasier@frasierlaw.com

                                               Marc E. Elias
                                               John Devaney
                                               Ariel B. Glickman
                                               PERKINS COIE LLP
                                               700 Thirteenth Street, N.W., Suite 800
                                               Washington, DC 20005-3960
                                               Telephone: 202.654.6200
                                               Facsimile: 202.654.6211
                                               MElias@perkinscoie.com
                                               JDevaney@perkinscoie.com
                                               AGlickman@perkinscoie.com

                                               Charles G. Curtis, Jr.
                                               Sopen B. Shah
                                               Will M. Conley
                                               PERKINS COIE LLP
                                               33 East Main Street, Suite 201
                                               Madison, WI 53703-3095
                                               Telephone: 608.663.7460
                                               Facsimile: 608.663.7499
                                               CCurtis@perkinscoie.com
                                               SShah@perkinscoie.com

                                               Counsel for Plaintiffs




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                             CERTIFICATE OF SERVICE
         I hereby certify that on July 10, 2020, I electronically transmitted Plaintiffs’

   Response to Defendants’ Motion to Dismiss Improper and Dismiss or Transfer Venue

   to the Clerk of Court using the ECF System for filing, which will transmit a Notice of

   Electronic Filing and a copy of the document to all counsel who have entered an

   appearance in this case. Additionally, an electronic copy was transmitted to the

   following counsel:

   Mithun Mansinghani, Mithun.Mansinghani@oag.ok.gov
   Bryan Cleveland, Bryan.Cleveland@oag.ok.gov
   Thomas Schneider, Thomas.Schneider@oag.ok.gov




   DATED: July 10, 2020                        s/ Frank W. Frasier
                                               Frank W. Frasier, OK# 17864
                                               FRASIER, FRASIER & HICKMAN, LLP
                                               1700 Southwest Boulevard
                                               Tulsa, OK 74107
                                               Telephone: 918.584.4724
                                               Facsimile: 918.583.5637
                                               FFrasier@frasierlaw.com




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